         Case 19-18467        Doc 28     Filed 09/04/19 Entered 09/04/19 08:07:52                 Desc Notice
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Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                              Case No. 19−18467
American Pain Society                                         :
8735 West Higgins Road                                        Chapter : 7
Suite 300                                                     Judge :   Deborah L. Thorne
Chicago, IL 60631
SSN: EIN: 52−1180177




Debtor's Attorney:                                              Trustee:
Steven B Chaiken                                                Michael K Desmond
Adelman & Gettleman                                             Figliulo & Silverman P C
53 W Jackson Blvd, Ste. 1050                                    10 S LaSalle Suite 3600
Chicago, IL 60604                                               Chicago, IL 60603

312 435−1050                                                    312−251−5257

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
June 28, 2019 .

1. December 5, 2019 is fixed as the last day for the filing of claims by creditors other than governmental units.

2. December 26, 2019 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: September 4, 2019                                      Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
